Case 1:18-cv-02192-HG-PK                Document 45            Filed 07/01/19         Page 1 of 2 PageID #: 527

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 July 1, 2019
 VIA ECF

 The Honorable Peggy Kuo
 United States Magistrate Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

            Re:     Miller, et al. v. Arab Bank, PLC, No.18-ev-2192 (BMC) (PK)
                    Pam, et aL v. Arab Bank, PLC,No.18-ev-4679 (BMC) (PK)

 Dear Judge Kuo:

            We represent Defendant Arab Bank, PLC (“Defendant” or the “Bank”) and submit the
     attached Proposed Case Management Plan pursuant to the Court’s order of July 1, 2019.

             At the conference held on June 18, 2019, the Court issued two straightforward rulings
     regarding a proposed Case Management Plan: that it provide a schedule for completing all fact
     and expert discovery on all issues, and that issues relating to bank secrecy, such as the scope of
     the requests, requests for judicial assistance, etc. be brought to the Court “early on.” [ECF 42]
     See, e.g., Hr’g Tr. 18:15-18; 25:1-21. Those rulings inform the Bank’s submission.

            Following the conference, and after exchanging initial draft proposals, the parties
     conferred in an effort to reach agreement on a joint submission. Because it was the Bank’s
     preference to avoid unnecessary disputes and to submit a joint proposal to the Court rather than
     separate proposals, the Bank agreed to accept most of Plaintiffs’ suggestions for topics to be
     included and proposed deadlines. They are incorporated in our Proposed Case Management Plan.

              However, the Bank would not agree to Plaintiffs’ plan for a “Hamas Only Trial Proceeds
     First” which, contrary to the Court’s ruling, bifurcates discovery and defers completion of fact
     and expert discovery with respect to all other attacks until after the completion of a Hamas-First
     trial. That was the request previously made by Plaintiffs and rejected by the Court at the June 18
     hearing. Hr’g Tr. 18:8-21.1


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   The two other points of primary disagreement are as follows. First, the Bank proposes that it notify the Court within
 90 days of the positions taken by foreign governments on any Letters Rogatory sent to them or request additional time
 from the Court in order to allow for their response. Plaintiffs require the Bank to declare its position on production
 by the 90th day even if some foreign governments have not yet responded to the Letters Rogatory. Second, should a
 Rule 37 motion be made, the Bank’s proposed briefing schedule provides an opportunity for relevant third party
 governmental entities to file statements of interest relevant to the Court’s comity analysis.
Case 1:18-cv-02192-HG-PK        Document 45       Filed 07/01/19    Page 2 of 2 PageID #: 528




 Honorable Peggy Kuo
 July 1, 2019
 Page Two


         The Bank is available at the Court’s convenience to discuss the parties’ proposals and
  thanks the Court, in advance, for its consideration of our submission.


                                                          Respectfully Submitted,

                                                          /s/ Jonathan Siegfried

                                                          Jonathan Siegfried



 cc:    All Counsel (via ECF)
